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EXHIBIT C
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lof

United States District Court
District of Nevada (Reno)

CIVIL DOCKET FOR CASE #: 3:05-cv-00322-HDM-RAM

State of Nevada Ex Rel H. Dean Steinke VS Merck & Co., Date Filed: 05/26/2005

Inc. Jury Demand: Defendant

Assigned to: Judge Howard D. McKibben Nature of Suit: 370 Fraud or
Referred to: Magistrate Judge Robert A. McQuaid, Jr Truth-In-Lending

Cause: 28:1331 Fed. Question Jurisdiction: Diversity

Date Filed # Docket Text

02/22/2007 86 | STATUS REPORT by Defendant Merck & Company, Inc.. (Peterson,

William) (Entered: 02/22/2007)

12/20/2006

ORDER denying without prejudice should parties be unable to reach
settlement re 68 MOTION to Reconsider District Judge Order re 55 Order
on Motion to Dismiss Plaintiffs’ First Amended Complaint filed by Merck
& Company, Inc. Signed by Judge Howard D. Mckibben on 12/20/06.
(LG) (Entered: 12/21/2006)

12/19/2006

STATUS REPORT by Defendant Merck & Company, Inc.. (Peterson,
William) (Entered: 12/19/2006)

10/19/2006

ORDER ON STIPULATION re 82 Stipulation; the parties agree to a stay
of all proceedings in this litigation, including discovery; the parties have
agreed to this stay to facilitate ongoing sttlmnt discussions to resolve all —
issues in this litigation; the parties will provide the crt with a stat rpt on
sttImnt discussions w/in 60dys, see ord for spec. Signed by Judge Howard
D, McKibben on 10/19/06. (JAR, ) (Entered: 10/23/2006)

10/18/2006

STIPULATION Parties’ Joint Stipulation for a Stay by Defendant Merck
& Company, Inc.. (Peterson, William) (Entered: 10/18/2006)

10/05/2006

NOTICE by Defendant Merck & Company, Inc. of Letter to The
Honorable Howard D. McKibben dated October 5, 2006 (Peterson,
William) (Entered: 10/05/2006)

10/05/2006

REPLY to Response to 68 MOTION to Reconsider District Judge Order
re 55 Order on Motion to Dismiss Plaintiffs’ First Amended Complaint,
filed by Defendant Merck & Company, Inc,. Reply Memorandum of
Points and Authorities in Support of Defendant's Motion for
Reconsideration of the Court's Order Denying Defendnat's Motion to
Dismiss Plaintiffs’ Amended Complaint (Peterson, William) (Entered:
10/05/2006)

10/02/2006

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NOTICE The jury trial set for 9/25/2007 [69] is vacated and shal! be reset
upon submission of the proposed joint pretrial order [LR 16-4]. (BS, )

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08/22/2006 69 | NOTICE of Trial Setting: Jury Trial set for 9/25/2007 at 09:00 AM in
Reno Courtroom 4 before Judge Howard D. McKibben. The deadline to
set a Settlement Conference is 4/20/2007, which conference shall be
conducted at an appropriate time as determined by the U. S. Magistrate
Judge. (no image attached)(BS, ) (Entered: 08/22/2006)

08/2 1/2006 68 | MOTION to Reconsider District Judge Order re 55 Order on Motion to
Dismiss Plaintiffs' First Amended Complaint by Defendant Merck &
Company, Inc.. Responses due by 9/8/2006. (Peterson, William) (Entered:
08/21/2006)

08/18/2006 67 | ORDER ON STIPULATION re 64 Stipulation tht Ds shl hv til 9/8/06 to
file a reply re 57,. Signed by Judge Howard D. McKibben on 8/18/06.
GAR, ) (Entered: 08/18/2006)

08/17/2006 66 | SCHEDULING ORDER. Discovery due by 3/21/2007. Motions due by
4/20/2007. Proposed Joint Pretrial Order due by 5/21/2007. Signed by
Judge Robert A. McQuaid Jr. on 8/17/06. (WJ, ) (Entered: 08/18/2006)

08/17/2006 65 | PROPOSED Discovery Plan/Scheduling Order filed by Defendant Merck

| & Company, Inc.. (Peterson, William) (Entered: 08/17/2006)
| 08/17/2006 64 | STIPULATION re 63 Response to Motion for Miscellaneous Relief, ;

Stipulation to Extend Time to File Reply to Plaintiffs’ Response to
Defendant's Motion to Certify for Interlocutory Appeal the Court's Order
Denying Defendant's Motion to Dismiss Plaintiffs’ First Amended
Complaint (First Request) by Defendant Merck & Company, Inc..
(Peterson, William) (Entered: 08/17/2006)

08/07/2006 63 | RESPONSE to filed by Plaintiff Nevada State of. State of Nevada's
Opposition to Defendant's 57 Motion to Certify for Interlocutory Appeal
the Court's Order Denying Defendant's Motion to Dismiss Plaintiff's First
Amended Complaint Replies due by 8/21/2006. (Attachments: # 1 Index #
2 Exhibit A# 3 Exhibit B# 4 Exhibit C# 5 Exhibit D# 6 Exhibit E# 7
Exhibit F)(Terry, L.} Modified on 8/10/2006 to add link to motion.
(BLG). (Entered: 08/07/2006)

07/28/2006 62 | ORDER ON STIPULATION re DOC #61 Stipulation, Ord tht P may hv
til 8/11/06 in which to file its Oppo to D's Merck's Mtn to Certify for
Interlocutory Appeal of the Crt's order denying D's Mtn to Dismiss P's 1st
Am Complaint. Responses due by 8/11/2006. Signed by Judge Howard D.
McKibben on 7/28/06. (SA, } (Entered: 07/31/2006)

07/25/2006 61 | STIPULATION for Extension of Time to File Opposition to Defendant's
Motion to Certify for Interlocutory Appeal of the Court's Order Denying
Defendant's Motion to Dismiss by Defendant Merck & Company, Inc..
(Peterson, William) (Entered: 07/25/2006)

07/19/2006 60 | ORDER ON STIPULATION doc #59 tht P may have til 8/4/06 in which
to file its OPPO to doc #57 D, Merck's Motion to Certify for Interlocutory
Appeal of the Courts order Denying D's Mtn to Dismiss P’s lst Am

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